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                       UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF IOWA


 IN RE:                                         Chapter 11
 Iowa’s First, Inc.,                            Case No. 18-01301
     Debtor.
                                                NOTICE OF CORRECTED CREDITOR
                                                ADDRESS



       COMES NOW Counsel for the Debtor and hereby submits a change of address

for the Creditor as set forth below.

       1. DELETE THE FOLLOWING ADDRESS:

    McDonald Supply
    1914 E Lincolnway Avenue
    Ames, IA 50010

       2. ADD THE FOLLOWING ADDRESS:

    McDonald Supply
    Attn: Alysia Hedrick
    PO Box 708
    Dubuque, IA 52004-0708


Dated this 25 day of October, 2018.
                                                  Respectfully submitted,

                                                  AG & BUSINESS LEGAL STRATEGIES

                                                  /s/ Joseph A. Peiffer
                                                  Joseph A. Peiffer AT0006160
                                                  P.O. Box 11425
                                                  Cedar Rapids, Iowa 52410-1425
                                                  Telephone: (319) 363-1641
                                                  FAX: (319) 200-2059
                                                  E-mail: joe@ablsonline.com
                                                  ATTORNEY FOR DEBTOR




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